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                          UN ITED STA TES DISTRIC T CO UR T              ) IA C. DUCY
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                          W ESTERN DISTRICTOFW RGN A                        ;       C .
                                  DA N V ILLE D IW SIO N



UNITEP STATES OF AM EW CA
                                                  çaseNo.        W '.1%                 WO
              V.
                                                 In Violation of: 21U.S.C.jj841(a)(1),
                                                                   (b)(1)(X),(b)(1)m ),
                                                                   (b)(1)(C),and 846
FRANKLIN DERON M YERS,JR.


                                      INUICTM ENT

                                       CO U N T O N E
                            21U.S.C.jj846 and841(b)(1)(A)
                      (ConspiracytoDistributeCocaineHydrochlodde)
The Grand Jury chargesthat:

      From in oraround 2015 andcontinuing tmtilAugust16,2017,in theW estern Judicial

D istlictofV irgirtia,FM N KI,IN D ERON M Y ER S,.
                                                 TR.did knowingly and intentionally

com bine,conspire,confederate and agree with otherpersons,both know n and llnknow n to the

Grand July toknowingly and intentionally distdbute andpossesswith intentto distdbute5

kilogram sorm oreofam ixtureandsubstancecontaining adetectable am otmtofcocaine

hydrochlodde,a Schedule 11Controlled Substancç,in violation ofTitle21,Ul ted StatesCode,

Section 841(a)(1).
   2. A11inviolationofTitle21,UrlitedStatesCode,Sections846and841@)(1)(A).




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                                        C O U N T TW O
                               21U.S.C.jj841(a)(1),(b)(1)(A)
                            (DistributionofCocaineHydrochlolide)
The Grand Jlzry furtherchargesthat:

   3. From in orarotm d 2015 tllrough A ugust 16,2017,in the W estern JudicialDise ctof

Virginia,FRANKT-IN DERON MYERS,JR.didV owinglyandintentionallydistributeand
possessw ith intentto distribute 5 ldlogm m s orm ore ofa m ixture and substance containing a

detectableam otmtofcocainehydrochloride,a Schedule11Controlled Substance.

   4. A11inviolation ofTitle21,UrlitedStatesCode,Sections841(a)(1),(b)(1)(A).

                                       CO U N T TH R EE
                              21U.S.C.jj841(a)(1),(b)(1)(B)
                  (Possessionwith IntenttoDistributeCocaineHydrochlodde)
TheGrand Jtu'yfurtherchargesthat:

       5.     On oraboutAugust16,2017,in theW estem JudicialDistrictofVirginia,

FlkAM ctam DERON M YERS,JR.did u owingly and intentionallypossesswith intentto

distribute500 gram sorm oreofamixtureand substance containing adetectableamotmtof

cocainehydrochlodde,aSchedule11Controlled Substance.

       6.     A11inviolationofTitle21,United StatesCode,Sections841(a)(1),(b)(1)(B).




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                                       C O U N T FO U R
                               21U.S.C.jj841(a)(1),(b)(1)(C)
                        (Possessionwith IntenttoDistributeM atijuana)
The Grand Jtu'y furthercharges that:

                On oraboutAugust16,2017,in theW estern JudicialDistrictofVirginia,

FR AN KI,
        1N DERON M YERS,JR.did H owingly andintentionally pgssesswith intentto

distributemadjuana,aSchedulelControlledSubstance.
       8.       A11inviolationofTitle21,UnitedStatesCode,Sections841(a)(1),(b)(1)(C).



A lx us BILL,this %*       dayorAugust2018   .




                                                  s/GM ND JURYFOREPERSON
                                                  GRA N D JU RY FO REPERSON



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